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 16                           UNITED STATES DISTRICT COURT
 17            CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 18   NANCY FIEDLER, et al.,                           Case No. 2:21-cv-07065-PA-MRW
 19                                                    Honorable Percy Anderson
                      Plaintiffs,                      Courtroom 9A
 20
      vs.                                              NOTICE OF ERRATA
 21                                                    REGARDING THE
 22   UNITED STATES OF AMERICA, et al.,                DECLARATION OF JOHN
                                                       HILLSMAN IN SUPPORT OF
 23                   Defendant.                       OPPOSITION TO UNITED
                                                       STATES’ MOTION TO DISMISS
 24                                                    PLAINTIFFS’ FIRST AMENDED
                                                       COMPLAINT FOR LACK OF
 25                                                    SUBJECT MATTER
                                                       JURISDICTION (ECF No. 98-1)
 26                                                    [Fed.R.Civ.P.12(b)(1)]
 27                                                     Hearing Date: Not Set
 28




      NOTICE OF ERRATA IN HILLSMAN DELCARATION                    2:21-cv-07605-PA (MRWx)
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  1         Plaintiffs respectfully submit this Notice of Errata regarding the Declaration of
  2   John Hillsman in Support of Opposition to United States’ Motion to Dismiss Plaintiffs’
  3   First Amended Complaint For Lack Of Subject Matter Jurisdiction filed under Fed. R.
  4   Civ. P. 12(b)(1) (Hillsman Declaration”) (see ECF 98-1).
  5         The caption page of the Hillsman Declaration, specifically page 1 lines 16-17,
  6   contains a scrivener’s error. The text “IN THE SUPERIOR COURT FOR THE CATE
  7   OF CALIFORNIA COUNTY OF LOS ANGELES” should be corrected to read
  8   “UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA –
  9   WESTERN DIVISION.”
 10
 11
 12   Dated: July 8, 2024,                       Respectfully Submitted,
 13                                              NELSON & FRAENKEL LLP
                                                 MCGUINN, HILLSMAN & PALEFSKY
 14
                                                 SALTZ MONGELUZZI & BENDESKY, P.C.
 15
 16                                              By    //s// Gretchen M. Nelson
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                                                 SCHUERING ZIMMERMAN & DOYLE,
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                                                       LLP
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      NOTICE OF ERRATA IN HILLSMAN DELCARATION                             2:21-cv-07605-PA (MRWx)
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      NOTICE OF ERRATA IN HILLSMAN DELCARATION                    2:21-cv-07605-PA (MRWx)
